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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
UNITED STATES OF AMERICA, *
Plaintiff, ®
v. . No. 21-cR- £02.39
DIANE GORDON, *
Defendant. *
PLEA AGREEMENT

 

The Defendant, DIANE GORDON, by and through her counsel, MARK

MCDANIEL, knowingly and voluntarily agrees with the United States, through Joseph C.
Murphy, Jr., Acting United States Attorney for the Western District of Tennessee and

Tono Kim Jean-E-Wittiams, Aeting Assistant Attorney General for the Environment and Natural
Resources Division, and through Dean DeCandia, the undersigned Assistant United
States Attorney, and Banumathi Rangarajan, the undersigned Trial Attorney, to waive
indictment and enter a plea of guilty to the one-count Information filed herein:

1s

The Defendant is charged in the Information with making and using material false
writings and documents, in violation of Title 18, United States Code, Section
4001(a)(3). The statutory penalties for this offense are not more than 5 years of
imprisonment, not more than the greater of a $250,000 fine or twice the gross
gain or loss, or both fine and imprisonment, not more than 3 years of supervised
release, and a $100 mandatory special assessment.

The Defendant agrees that:

a.

She is waiving indictment and pleading guilty to the aforementioned
offense in Information because she is guilty of the offense;

Neither the United States, nor any law enforcement officer, can or has
made any promises or representations as to what the sentence imposed
by the Court will be;

If she had proceeded to trial and had been convicted, she would have had
the right to appeal the conviction. She understands that by pleading
guilty, she gives up the right to appeal the conviction. Based on
concessions made in this plea agreement by the United States, she also
hereby waives her rights to appeal her sentence, unless the sentence
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exceeds the maximum permitted by statute or is the result of an upward
departure from the guideline range that the Court establishes at
sentencing;

d. Except with respect to claims of ineffective assistance of counsel or
prosecutorial misconduct, she waives her right to challenge the sufficiency
or the voluntariness of her guilty plea on direct appeal or in any collateral
attack;

e. The special assessment of $100 is due and payable to the U.S. District
Court Clerk's Office, and the Defendant agrees to provide the United
States with evidence of payment immediately after sentencing; and

f. This writing constitutes the entire Plea Agreement between the Defendant
and the United States with respect to the plea of guilty. No additional
promises, representations or inducements, other than those referenced in
this Plea Agreement, have been made to the Defendant or to the
Defendant’s attorney with regard to this plea, and none will be made or
entered into unless in writing and signed by all parties.

3. The Defendant understands that:

a. Given the facts in the possession of the United States at the time of the
writing of this agreement, the United States does not oppose the
Defendant receiving acceptance of responsibility credit pursuant to
U.S.S.G. § 3E1.1, provided the Defendant continues to demonstrate an
affirmative acceptance of responsibility, including acknowledging guilt in
open court to the facts as set out in the Information;

b. If the United States receives information between the signing of this
agreement and the time of the sentencing that the Defendant has
previously engaged in, or if she engages in the future, in conduct
inconsistent with the acceptance of responsibility, including, but not limited
to, participation in any additional criminal activities between now and the
time of sentencing, this position could change;

Cc. Whether or not acceptance of responsibility credit pursuant to § 3E1.1 is
granted is a matter to be determined by the Court. Failure of the Court to
grant acceptance of responsibility credit is not a basis for the Defendant to
withdraw her guilty plea;

d. Should it be judged by the United States that the Defendant has
committed or attempted to commit any additional crimes or has engaged
in any conduct constituting obstruction or impeding justice within the
meaning of U.S.S.G. § 3C1.1 from the date of the Defendant's signing of
this plea agreement to the date of the Defendant's sentencing, or if the
Defendant attempts to withdraw the guilty plea, the government will be

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released from its obligations and would become free to argue for any

sentence within the statutory limits.

Such a breach by the Defendant

would not release the Defendant from the plea of guilty; and

e. Any statement made in the course of the plea colloquy may be used
against her in any criminal prosecution. The Defendant knowingly,
intelligently and voluntarily waives any objection based on Federal Rules

of Evidence 410.

The Defendant agrees to make restitution to the following victims in the amounts
set forth below. Said restitution shall be due and payable immediately.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

VICTIM RESTITUTION DUE
Brimhall Foods Company $4,757.00
BT Redi Mix $20,510.88
Cordova Concrete $5,471.00
Dennis Hall Auto Salvage $1,847.00
Dixie Waste Paper Company $2,000.00
Hydraulex $1,120.00
Iskiwitz Metals $2,475.00
Keeler Iron $1,850.00
Koppers Performance Chemicals $8,070.00
LaGasse Construction $1,650.00
Massey Auto Parts $1,702.00
Mathews & Sons Crushing, LLC $1,000.00
Memphis Auto Parts & Salvage $1,760.00
Memphis Ready Mix $45,766.00
Mid South Auto U-Pull-It $4,146.00
Mid Town Auto Parts & Salvage $1,160.00
Mr. Complete Auto Parts $1,980.00
Olympic Industries $2,320.00
Pyramid Signs & Awnings _ $1,590.00
Quality Concrete Products $1,120.00
Safety Quip $2,339.50
Southern Concrerte $37,718.50
Sugar Services $19,986.00
West TN Ready Mix $27,180.00
Yardworks $1,870.00

 

 

TOTAL RESTITUTION DUE

 

$201,388.88

 

 
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5. The United States agrees:

a. To recommend that the Defendant be sentenced at the low end of the
applicable guideline range established by the above stipulations, provided
that the Defendant does not breach this plea agreement. The Defendant
understands that whether or not the Defendant is sentenced at the low
end of the applicable guideline range is a matter to be determined by the
Court. Failure of the Court to sentence the Defendant at the lowest end of
the applicable guideline range is not a basis for the Defendant to withdraw
her guilty plea or to appeal her sentence. Neither the United States, nor
any law enforcement officer, can or has made any promises or
representations as to what the sentence imposed by the Court will be.

6. The parties agree, pursuant to Fed. R. Crim. P. 11(c)(1)(B), to the following
positions as to the below-listed sentencing factors only, which are not binding on
the Court in its application of the advisory Guideline range; provided that if
Defendant’s conduct prior to sentencing changes the circumstances with respect
to any such factors, the United States is no longer bound to its positions as to
those factors:

a. The applicable guidelines is USSG § 2B1.1 which calls for a base offense
level of 6.

b. Pursuant to USSG § 2B1.1(b)(1)(F), a 10-level increase is warranted for
an intended loss greater than $150,000 but less than $250,000.

c. Pursuant to USSG § 2B1.1(b)(2), a 2-level increase is warranted because
the offense conduct involved more than 10 victims.

7. By signing this agreement, the Defendant affirms that she is satisfied with her
lawyer's counsel and representation and hereby freely and voluntarily enters into
this plea agreement. The Defendant understands that this writing constitutes the
entire Plea Agreement between the arties with respect to the plea of guilty. No
additional promises, representations or inducements, other than those
referenced in this Plea Agreement, have been made to the Defendant or to the

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Defendant's attorney with regard to this plea, and none will be made or entered
into unless in writing and signed by all parties.

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DIANE RDON Date
Defendant

Nast SW and0S, - 30-2021
MARK McDANIEL Date

Defendant’s Counsel

JOSEPH C. MURPHY, JR.
Acting United States Attorney

 

By:
WP CQ 2 lO/2aby 222 |
DEAN DeCANDIA Date’

Assistant United States Attorney

JEAN-ESWWILLIAMS TODD Kiry)
Aeting-Assistant Attorney General
Environment And Natural Resources Division

 
   
 

Date

 
 

Trial Attorney
Environmental Crimes AN on
